 Case 2:12-cv-00151-JRG Document 21 Filed 12/20/12 Page 1 of 2 PageID #: 415




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


INMOTION IMAGERY TECHNOLOGIES,                   §
LLC,                                             §
                                                 §
       Plaintiff,                                § CIVIL ACTION NO. 2:12-cv-150
                                                 § LEAD CASE
v.                                               §
                                                 § JURY TRIAL DEMANDED
ROKU, INC.,                                      §
                                                 §
       Defendant.                                §


INMOTION IMAGERY TECHNOLOGIES,                   §
LLC,                                             §
                                                 §
       Plaintiff,                                §
                                                 § CIVIL ACTION NO. 2:12-cv-151
v.                                               §
                                                 § JURY TRIAL DEMANDED
NETFLIX, INC.,                                   §
                                                 §
       Defendant.                                §

                                           ORDER
       In consideration of the parties’ Joint Motion to Dismiss of all claims with prejudice and

all counterclaims as moot asserted between Plaintiff InMotion Imagery Technologies, LLC and

Defendant Netflix, Inc., the Joint Motion to Dismiss is GRANTED, and it is ORDERED,

ADJUDGED AND DECREED that all claims asserted in this suit between Plaintiff and

Defendant are hereby dismissed with prejudice, subject to the terms of that certain agreement

entitled “PATENT LICENSE AND SETTLEMENT AGREEMENT” dated December 6, 2012.
Case 2:12-cv-00151-JRG Document 21 Filed 12/20/12 Page 2 of 2 PageID #: 416



      It is further ORDERED that all attorneys’ fees and costs are to be borne by the party that

incurred them.
         SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 20th day of December, 2012.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE




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